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           Exhibit 1
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  SAVERI & SAVERI, INC.                         Trump Alioto Trump & Prescott
        706 SANSOME STREET                                  ATTORNEYS LLP
  SAN FRANCISCO, CALIFORNIA 94111                            2280 Union Street
     TELEPHONE: (415) 217-6810                         San Francisco, California 94123
     TELECOPIER: (415) 217-6813                                (415) 563-7200
                                                            FAX (415) 346-0679

                                     August 26, 2021

VIA EMAIL

John M. Taladay
Baker Botts LLP
700 K Street, N.W.
Washington, D.C. 20001
john.taladay@bakerbotts.com


       Re:     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917,
               Master File No. 07-CV-5944-JST

Dear John:

       As required by paragraph IV.C of the Court’s Order re Discovery and Case
Management Protocol (ECF No. 1128) and Civil Local Rule 30-1, Plaintiffs wish to
confer about the scheduling of depositions of the following individuals:

   -   Chen Zhong Guo (陈忠国)
   -   Guo Mengquan (郭盟权)
   -   Li Miao (李淼)
   -   Si Yuncong (司云聪)
   -   Su Xiaohua (苏晓华)
   -   Wang Ximin (王西民)
   -   Wang Zhao-Jie (王昭杰)
   -   Wen Haiyang (文海洋)
   -   Xu Gao-Wen (许高文)

       Please advise at your earliest convenience whether your clients will agree to
produce these witnesses and, if so, when they will be available for deposition. Please also
provide the names and availability of any individuals Irico previously identified as former
employees who are presently employed by Irico (or any entity under Irico’s control)
and/or any individuals to be offered at trial. Plaintiffs reserve the right to seek
information about and consult with you regarding additional individuals.

       Thank you.
   Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 3 of 41

John Taladay
August 26, 2021
Page 2 of 2


                                  Very truly yours,


                                  /s/ R. Alexander Saveri
                                  R. Alexander Saveri
                                  Lead Counsel for the Direct Purchaser Plaintiffs


                                  /s/ Lauren C. Capurro
                                  Lauren C. Capurro
                                  Lead Counsel for the Indirect Purchaser Plaintiffs


Cc:       Evan J. Werbel
          Thomas E. Carter
          Andrew L. Lucarelli
          Kaylee Yang
          Geoffrey C. Rushing
          Matthew D. Heaphy
          Mario N. Alioto
          Daniel E. Birkhaeuser



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           Exhibit 2
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                                                      700 K STREET, NW      AUSTIN          MOSCOW
                                                      WASHINGTON, D.C.      BRUSSELS        NEW YORK
                                                      20001-5736            DALLAS          PALO ALTO
                                                                            DUBAI           RIYADH
                                                      TEL +1 202.639.7700   HONG KONG       SAN FRANCISCO
                                                      FAX +1 202.639.7890   HOUSTON         WASHINGTON
                                                      BakerBotts.com        LONDON




November 2, 2021

                                                                            Evan Werbel
                                                                            TEL: 202.639.1323
                                                                            FAX: 202.585.4077
                                                                            evan.werbel@bakerbotts.com
VIA E-MAIL (RICK@SAVERI.COM,
LAURENRUSSELL@TATP.COM)

R. Alexander Saveri
Saveri & Saveri, Inc.
706 Sansome Street
San Francisco, CA 94111

Lauren C. Capurro
Trump Alioto Trump & Prescott LLP
2280 Union Street
San Francisco, CA 94123



         Re:        In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master File
                    No. 07-CV-944-JST

Dear Rick and Lauren:

                    I write in response to your October 12, 2021 letter (“Oct. 12 Letter”) regarding
depositions.

                Regarding the potential depositions of Mr. Wang and Mr. Su, we understand that
Plaintiffs would prefer to take the depositions in San Francisco. However, we note that the Order
re Discovery and Case Management Protocol (ECF No. 1128) (“Deposition Protocol”) actually
states depositions will “presumably take place in the Northern District of California unless a
foreign witness or party shows that it is more appropriate to have a deposition taken at a place
outside the United States.” We believe that the “more appropriate” location for these depositions
is Hong Kong, and that the depositions should occur via videoconference given the ongoing
pandemic. To be clear, Mr. Wang and Mr. Su are willing to sit for the requested depositions if
they are held in Hong Kong, which would necessitate a mandatory two- to three-week quarantine
upon their return to Mainland China. Neither is willing to take on the added risk to their own
personal health, which they believe is threatened by travel to the United States at this time. Mr.
Wang and Mr. Su are concerned with the significant number of new Covid cases occurring in the
United States as compared to new cases reported in China and Hong Kong. China’s most recently
reported daily average is 81 new cases country-wide, or statistically zero per 100,000 people, and
Hong Kong’s reported daily average is three new cases, or fewer than one per 100,000, whereas


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R. Alexander Saveri                                        -2-                    November 2, 2021
Lauren C. Capurro


the United States’ daily average of new Covid cases is 74,504, or 22 per 100,000.1 Under these
conditions, we believe that proceeding with these depositions via videoconference in Hong Kong
is fully consistent with the language and spirit of the Deposition Protocol. We note that other
courts have made similar accommodations given the ongoing pandemic. See Order Regarding
Consent Addendums to the Fact Witness Deposition Protocol, In re: Valstartan N-
Nitrosodimethylamine (NDMA), Lostartan, and Irbesartan Products Liability Litigation, Civil No.
19-2875 (D.N.J. Dec. 30, 2020), ECF No. 701. We are available to meet and confer with you
regarding the logistics for orchestrating remote depositions of Mr. Wang and Mr. Su in Hong
Kong.

                 Regarding your request to depose Mr. Chen, Mr. Si and Mr. Li, we continue to
believe that the depositions of these senior executives with no knowledge of the facts relevant to
the allegations in your complaint is inappropriate. Simply stating that their current “leadership
positions justify taking depositions” does not warrant the burden of unnecessary depositions that
would be placed on these senior executives, two of whom were not even employed at the company
during the time period relevant to your allegations, especially when such depositions would require
a mandatory two- to three-week quarantine upon their return to Mainland China. We also note
that Mr. Li suffers from health issues that may preclude travel even to Hong Kong. We are
available to meet and confer regarding these employees to allow plaintiffs to expand further on
their rationale for such depositions.

             Finally, you requested in your October 20 Letter to confer further regarding the
former employees. We are available at your convenience.

                                                     Sincerely,



                                                     /s/ Evan Werbel
                                                     Evan Werbel



cc:        Geoffrey C. Rushing
           Matthew D. Heaphy
           Mario N. Alioto
           Daniel E. Birkhauser




1
    See https://www.nytimes.com/interactive/2021/world/covid-cases.html.
Active 68287585.1
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  SAVERI & SAVERI, INC.                         Trump Alioto Trump & Prescott
        706 SANSOME STREET                                 ATTORNEYS LLP
  SAN FRANCISCO, CALIFORNIA 94111                           2280 Union Street
     TELEPHONE: (415) 217-6810                        San Francisco, California 94123
     TELECOPIER: (415) 217-6813                               (415) 563-7200
                                                           FAX (415) 346-0679

                                   November 16, 2021

VIA EMAIL

Evan J. Werbel
Baker Botts LLP
700 K Street, N.W.
Washington, D.C. 20001
evan.werbel@bakerbotts.com

       Re:     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917,
               Master File No. 07-CV-5944-JST

Dear Evan:

       We write in response to your November 2, 2021, letter regarding Plaintiffs’
depositions of current and former Irico employees, and to request a meet and confer
conference to discuss a number of related issues.

        First, in light of the parties’ disagreement over the location of the depositions,
Plaintiffs intend to contact Judge Walker to resolve the matter in accordance with section
VI of the Order re Discovery and Case Management Protocol (ECF No. 1128) (“Disputes
that cannot be resolved through the meet and confer process shall be decided on an
expedited basis by the Special Master through a telephonic hearing with no briefing
unless ordered.”).

       Second, your November 2 letter indicates that you are willing to produce Messrs.
Wang and Su (via videoconference from Hong Kong). Irrespective of location, you did
not, however, state when you would be able to do so. Please provide additional
information about the availability of Messrs. Wang and Su for depositions at your earliest
convenience.

       Third, please provide an update on the expected completion of Irico’s document
productions, including the timing and future volume. This information is relevant to the
timing of the depositions.

       Fourth, in our August 26, 2021, letter we asked you to “provide the names and
availability of . . . any individuals to be offered at trial.” Inasmuch as you have not
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Evan J. Werbel
11/16/2021
Page 2

responded, we understand that you do not intend call anyone else at trial. Please notify us
immediately if this is not correct.

       Fifth, you state that Messrs. Chen, Si and Li have “no knowledge of the facts
relevant to the allegations in your complaint.” However, Mr. Li, as a plant manager
during the class period, will likely have information relating to production cuts and
inventory levels, among other relevant facts. We also understand that Mr. Si may have
been a director of Irico Display and Irico Group Electronics during the class period. Both
Mr. Si and Mr. Chen may have information about the facts relevant to the alleged
conspiracy both stemming from their roles at their previous companies and their roles in
managing the defendant Irico companies after the class period. Moreover, all three will
undoubtably have information that will lead to the discovery of admissible evidence.

       Sixth, Plaintiffs would like to meet and confer regarding the current availability of
former employees.

          Please let us know your availability later this week or early next week to meet and
confer.

          Thank you.

                                        Very truly yours,


                                        /s/ R. Alexander Saveri
                                        R. Alexander Saveri
                                        Lead Counsel for the Direct Purchaser Plaintiffs

                                        /s/ Lauren C. Capurro
                                        Lauren C. Capurro
                                        Lead Counsel for the Indirect Purchaser Plaintiffs


Cc:       John M. Taladay
          Thomas E. Carter
          Andrew L. Lucarelli
          Kaylee Yang
          Geoffrey C. Rushing
          Matthew D. Heaphy
          Mario N. Alioto
          Daniel E. Birkhaeuser


crt.762
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           Exhibit 4
   Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 11 of 41
                                                     700 K STREET, NW      AUSTIN          MOSCOW
                                                     WASHINGTON, D.C.      BRUSSELS        NEW YORK
                                                     20001-5736            DALLAS          PALO ALTO
                                                                           DUBAI           RIYADH
                                                     TEL +1 202.639.7700   HONG KONG       SAN FRANCISCO
                                                     FAX +1 202.639.7890   HOUSTON         WASHINGTON
                                                     BakerBotts.com        LONDON




November 18, 2021

                                                                           Evan Werbel
                                                                           TEL: 202.639.1323
                                                                           FAX: 202.585.4077
                                                                           evan.werbel@bakerbotts.com
VIA E-MAIL (RICK@SAVERI.COM,
LAURENRUSSELL@TATP.COM)

R. Alexander Saveri
Saveri & Saveri, Inc.
706 Sansome Street
San Francisco, CA 94111

Lauren C. Capurro
Trump Alioto Trump & Prescott LLP
2280 Union Street
San Francisco, CA 94123



         Re:        In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master File
                    No. 07-CV-944-JST

Dear Rick and Lauren:

                 I write in response to your November 16, 2021 letter (“Nov. 16 Letter”) regarding
depositions. We agree that most of the issues raised in your letter are best addressed in a meet and
confer. We are available anytime on Tuesday, November 23, 2021 from 1:00 to 5:00 eastern.
Please let us know what times work for Plaintiffs. Below we address some of the issues raised in
your letter to facilitate our discussions.

               First, Irico has no objection to involving Judge Walker in the ongoing disagreement
regarding the location of the depositions.

                Second, Irico is working with Messrs. Wang Zhaojie and Su Xiaohua regarding
their availability for depositions and will provide dates as soon as possible. The everchanging
COVID-19 crisis is delaying the finalization of these issues.

                Third, in terms of Irico’s responses to outstanding Requests for Production, Irico
has completed its search and production of materials from its archives. Irico is now working on
collecting and producing responsive personnel records and is hoping to produce that information
by the end of the month. Irico is also finalizing issues related to its production of sales summaries
and/or records. We hope to have those issues resolved this month as well. Finally, Irico is still
awaiting a response from Plaintiffs regarding the need to produce certain financial records
discussed in our letters of October 11, 2021 and October 22, 2021.
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R. Alexander Saveri                                -2-                            November 18, 2021
Lauren C. Capurro


               Fourth, Irico has not made any final decisions regarding potential witnesses at trial.
We are still in the discovery phase of this matter. Irico does not believe that it is under any
obligation to provide a list of trial witnesses to Plaintiffs at this time.

                 Fifth, we continue to disagree with Plaintiffs’ suggestion that the depositions of
Messrs. Chen, Si and Li are warranted in this matter, especially given the severe burdens placed
on anyone traveling for a deposition given the pandemic. Mr. Li is not alleged to have been
involved in the allegations raised in the complaint. The burden of the mandated quarantine coupled
with his health issues certainly outweigh any minimal information he may have from his role
working in the CRT plant. Regarding Mr. Si, we are not aware of any information that he had any
role at Irico prior to 2013, and Plaintiffs provide no support for their statement that he “may have
been a director of Irico Display and Irico Group Electronics during the class period.” Based on
your statements in your Nov. 16 Letter, it is clear there is no legitimate basis for the depositions
of Messrs. Si and Chen, and your position is at odds with the well settled law in this district
prohibiting the “apex” depositions of senior management with no firsthand knowledge of events
from the relevant time period. See M.H. v. Cty. of Alameda, Case No. 11-cv-02868-JST, 2013 WL
5297176, at *1-2 (N.D. Cal. Oct. 3, 2013) (Tigar, J.); see also Affinity Labs of Tex. v. Apple, Inc.,
No. C 09-4436 CW (JL), 2011 WL 1753982, at *16-17 (N.D. Cal. May 9, 2011).

              As mentioned, we are available to discuss all of these issues on Tuesday, November
23, 2021. Please let us know your availability.

                                              Sincerely,



                                              /s/ Evan Werbel
                                              Evan Werbel



cc:      Geoffrey C. Rushing
         Matthew D. Heaphy
         Mario N. Alioto
         Daniel E. Birkhauser




Active 68979760.1
Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 13 of 41




           Exhibit 5
    Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 14 of 41
                                                        700 K STREET, NW          AUSTIN          MOSCOW
                                                        WASHINGTON, D.C.          BRUSSELS        NEW YORK
                                                        20001-5736                DALLAS          PALO ALTO
                                                                                  DUBAI           RIYADH
                                                        TEL +1 202.639.7700       HONG KONG       SAN FRANCISCO
                                                        FAX +1 202.639.7890       HOUSTON         WASHINGTON
                                                        BakerBotts.com            LONDON




December 3, 2021

                                                                                  Evan Werbel
                                                                                  TEL: 202.639.1323
                                                                                  FAX: 202.585.4077
                                                                                  evan.werbel@bakerbotts.com
VIA E-MAIL (RICK@SAVERI.COM,
LAURENRUSSELL@TATP.COM)

R. Alexander Saveri
Saveri & Saveri, Inc.
706 Sansome Street
San Francisco, CA 94111

Lauren C. Capurro
Trump Alioto Trump & Prescott LLP
2280 Union Street
San Francisco, CA 94123



         Re:        In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master File
                    No. 07-CV-944-JST

Dear Rick and Lauren:

                I write to follow-up on our ongoing discussions regarding the scheduling of
depositions for Mr. Wang Zhaojie and Mr. Su Xiaohua. As we have told you previously, Irico is
prepared to offer these witnesses for depositions and both have agreed to be deposed in this matter.
However, there are a number of issues involving the COVID-19 pandemic and Chinese law that
are significantly complicating our efforts to schedule these depositions.

               As you know we had planned to offer these witnesses in Hong Kong for remote
depositions in December. Both Mr. Wong and Mr. Su remain willing to be deposed but are very
concerned that travel may result in exposure to the coronavirus and about the severe quarantine
requirements they would face. With cases worldwide on the rise and the new threat from the
Omicron variant, the risks of contracting the coronavirus are of increasing concern.1 Also, as
discussed previously, Mr. Wang and Mr. Su will face quarantine periods of at least two- to four-
weeks on their return to mainland China from Hong Kong. Irico has been unable to convince




1
 Just this week, the Omicron variant was identified in Hong Kong. See https://www.scmp.com/news/hong-
kong/health-environment/article/3157987/omicron-coronavirus-variant-could-greatly-reduce.
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R. Alexander Saveri                                          -2-                                    December 3, 2021
Lauren C. Capurro


either Mr. Wang or Mr. Su of their safety, so at this time we do not have a solution and do not
anticipate being able to schedule these depositions in December or January.

                As you know from our discussions, we have sought ways to produce the witnesses
remotely from China, which would eliminate any travel risk. However, any depositions (including
those conducted remotely) are prohibited in mainland China.2 We therefore cannot lawfully
propose that the depositions be conducted with the witnesses in China. As discussed on our last
meet and confer call, if Plaintiffs have any authority that supports the lawful taking of depositions
in mainland China, we welcome your input. Irico is also investigating whether it can obtain a
waiver or exemption from the Chinese government to conduct the deposition, but it is not clear if
or when such a waiver or exemption could be obtained. We understand that Plaintiffs’ position is
that Irico should force these employees to travel despite the legitimate health risks that they face,
but we do not believe that is defensible given how courts have accommodated the health concerns
of witnesses and lawyers during the pandemic.3

               Given that Plaintiffs want to depose these witnesses and Irico wants to produce
them but is unable to do so within the current discovery schedule, we recommend that all parties
jointly approach the Court to ask for a discovery extension. We believe that a six-month discovery
extension would give the parties the best chance to complete these depositions, which is what all
parties want. In that time, we hope to be able to either produce the witnesses in Hong Kong or to
identify a way of conducting the depositions remotely and lawfully from China. We are not
proposing any changes to the current schedule for DPPs’ class certification motion. Given the
importance of the depositions to the factual record in the case, we propose that the agreement also
should include pushing back the current IPP schedule by six months.



                                             *        *        *        *




2
  See, e.g., China Judicial Assistance Information (“China does not permit attorneys to take depositions in China for
use in foreign courts” (emphasis in original)), available at https://travel.state.gov/content/travel/en/legal/Judicial-
Assistance-Country-Information/China.html; see also Order Regarding Consent Addendums to the Fact Witness
Deposition Protocol at 3, In re: Valstartan N-Nitrosodimethylamine (NDMA), Lostartan, and Irbesartan Products
Liability Litigation, Civil No. 19-2875 (D.N.J. Dec. 30, 2020), ECF No. 701; Ji v. Jling, Inc., 2019 WL 1441130, at
*2, 4, and 6 (E.D.N.Y. Mar. 31, 2019).
3
  See Brower v. McDonalds Corp., No. 2:19-cv-02099-GMN-BNW, 2021 WL 3573633, at *2-3 (D. Nev. May 28,
2021) (holding that “even if certain persons are fully vaccinated, travel still presents a risk of infection because
McDonald’s has no control over the conduct or vaccination status of third parties”); see also Mosiman v. C & E
Excavating, Inc., No. 3:19-CV-00451-DRL-MGG, 2021 WL 1100597, at *2-4 (N.D. Ind. Mar. 23, 2021) (noting
that “courts all around the country have found that the health concerns created by the COVID-19 pandemic are a
legitimate reason to take a deposition by remote means”).
Active 69179866.1
   Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 16 of 41




R. Alexander Saveri                           -3-                           December 3, 2021
Lauren C. Capurro


            Please let us know whether Plaintiffs are amendable to our proposal by Tuesday,
December 7. We are also available to meet and confer on these issues on Monday or Tuesday as
well.

                                          Sincerely,



                                          /s/ Evan Werbel
                                          Evan Werbel



cc:      Geoffrey C. Rushing
         Matthew D. Heaphy
         Mario N. Alioto
         Daniel E. Birkhauser




Active 69179866.1
Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 17 of 41




           Exhibit 6
   Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 18 of 41
                                                     700 K STREET, NW      AUSTIN          MOSCOW
                                                     WASHINGTON, D.C.      BRUSSELS        NEW YORK
                                                     20001-5736            DALLAS          PALO ALTO
                                                                           DUBAI           RIYADH
                                                     TEL +1 202.639.7700   HOUSTON         SAN FRANCISCO
                                                     FAX +1 202.639.7890   LONDON          WASHINGTON
                                                     BakerBotts.com



February 24, 2022

                                                                           Evan Werbel
                                                                           TEL: 202.639.1323
                                                                           FAX: 202.585.4077
VIA E-MAIL (RICK@SAVERI.COM,                                               evan.werbel@bakerbotts.com
LAURENRUSSELL@TATP.COM)

R. Alexander Saveri
Saveri & Saveri, Inc.
706 Sansome Street
San Francisco, CA 94111

Lauren C. Capurro
Trump Alioto Trump & Prescott LLP
2280 Union Street
San Francisco, CA 94123



         Re:        In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master File
                    No. 07-CV-944-JST

Dear Rick and Lauren:

        We received your letter today regarding outstanding issues, and we are working on our
responses to the various items. One pressing issue has arisen that we wanted to raise now. Irico
has informed us that Mr. Wang and Mr. Su have not been able to obtain the necessary visas to
travel to Hong Kong for depositions in March. The Covid numbers have been soaring in Hong
Kong, as you have probably seen in recent press articles. See Grace Tsoi, Hong Kong: What
went wrong with its Covid plan?, BBC News (Feb. 23, 2022), https://www.bbc.com/news/world-
asia-china-60474342. Travel to Hong Kong has been curtailed, and the Customs Office has
informed Irico that no visas can be issued to Irico employees for travel to Hong Kong at this
time. Unfortunately, these issues are beyond Irico’s control, and there is nothing that Irico can
do to change these circumstances. Without the requisite visas, Mr. Wang and Mr. Su are not
able to leave mainland China, and we do not believe the circumstances will change in the next
few weeks based on the current Covid numbers in Hong Kong.

        Given the above, we propose that the parties agree to another extension of the relevant
deadlines to allow for some reduction in the Covid numbers in Hong Kong. We don’t know
exactly when travel will be allowed but believe that a three-month extension is appropriate at this
time. If Plaintiffs are agreeable to this extension, we propose filing a joint stipulation and
proposed order with Judge Tigar extending all currently scheduled dates except for the remaining
dates related to DPPs’ Class Certification Motion.


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   Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 19 of 41




R. Alexander Saveri                                -2-                              February 24, 2022
Lauren C. Capurro


         We are available to meet and confer if you would like to discuss these issues further.


                                               Sincerely,



                                               /s/ Evan Werbel
                                               Evan Werbel



cc:      Geoffrey C. Rushing
         Matthew D. Heaphy
         Mario N. Alioto
         Daniel E. Birkhauser




Active 76314634.1
Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 20 of 41




           Exhibit 7
  Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 21 of 41




  SAVERI & SAVERI, INC.                          Trump Alioto Trump & Prescott
        706 SANSOME STREET                                  ATTORNEYS LLP
  SAN FRANCISCO, CALIFORNIA 94111                            2280 Union Street
     TELEPHONE: (415) 217-6810                         San Francisco, California 94123
     TELECOPIER: (415) 217-6813                                (415) 563-7200
                                                            FAX (415) 346-0679

                                    February 10, 2022

VIA EMAIL

Evan J. Werbel
Baker Botts LLP
700 K Street, N.W.
Washington, D.C. 20001
evan.werbel@bakerbotts.com

       Re:     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917,
               Master File No. 07-CV-5944-JST

Dear Evan:

       We write regarding the depositions of Irico employees.

        First, the depositions of Su Xiaohua and Wang Zhaojie are scheduled to take
place via videoconference from Hong Kong no later than March 18, 2022. Could you
please provide updates, if any, on the dates, timing and location of the depositions you
propose to offer so that we can make appropriate arrangements?

       Second, in light of Irico’s recent supplemental interrogatory responses, Plaintiffs
wish to confer about the scheduling of the deposition of Yan Yunlong. Please advise at
your earliest convenience whether your clients will agree to produce this witness and, if
so, when they will be able to do so.

       Thank you.

                                      Very truly yours,


                                      /s/ R. Alexander Saveri
                                      R. Alexander Saveri
                                      Lead Counsel for the Direct Purchaser Plaintiffs

                                      /s/ Lauren C. Capurro
                                      Lauren C. Capurro
                                      Lead Counsel for the Indirect Purchaser Plaintiffs
  Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 22 of 41

Evan J. Werbel
2/10/2022
Page 2


Cc:       John M. Taladay
          Thomas E. Carter
          Andrew L. Lucarelli
          Kaylee Yang
          Geoffrey C. Rushing
          Matthew D. Heaphy
          Mario N. Alioto
          Daniel E. Birkhaeuser


crt.770
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           Exhibit 8
   Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 24 of 41
                                                     700 K STREET, NW       AUSTIN         MOSCOW
                                                     WASHINGTON, D.C.       BRUSSELS       NEW YORK
                                                     20001-5736             DALLAS         PALO ALTO
                                                                            DUBAI          RIYADH
                                                     TEL +1 202.639.7700    HOUSTON        SAN FRANCISCO
                                                     FAX +1 202.639.7890    LONDON         WASHINGTON
                                                     BakerBotts.com



March 15, 2022

                                                                           Evan Werbel
                                                                           TEL: 202.639.1323
                                                                           FAX: 202.585.4077
VIA E-MAIL (RICK@SAVERI.COM,                                               evan.werbel@bakerbotts.com
LAURENRUSSELL@TATP.COM)

R. Alexander Saveri
Saveri & Saveri, Inc.
706 Sansome Street
San Francisco, CA 94111

Lauren C. Capurro
Trump Alioto Trump & Prescott LLP
2280 Union Street
San Francisco, CA 94123



         Re:        In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master File
                    No. 07-CV-944-JST

Dear Rick and Lauren:

        As we have been discussing, the depositions of Mr. Wang Zhaojie and Mr. Su Xiaohua in
Hong Kong cannot occur as planned prior to March 18, 2022 due to the ongoing COVID-19
emergency situation in Hong Kong. Irico has been working on alternate arrangements that will
allow Irico to produce Messrs. Wang and Su, as well as Mr. Yan Yunlong, for deposition. Irico
believes that Macau is likely to be the best location for these depositions given the current
circumstances surrounding COVID in China. Irico’s goal, subject to obtaining the appropriate
visas from the Chinese government, is to produce the three witnesses in Macau by the end of
May. Irico is currently working on submitting applications for travel to Macau to governmental
authorities, and we will provide you a further update in the next two weeks.

        In the meantime, Irico proposes that the parties stipulate to the removal of the current
March 18, 2022 deadline for the depositions in Hong Kong of Messrs. Wang and Su, given the
current circumstances in Hong Kong. We are happy to provide a draft stipulation.

         We are available to meet and confer if you would like to discuss these issues further.




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R. Alexander Saveri                     -2-                        March 15, 2022
Lauren C. Capurro


                                    Sincerely,



                                    /s/ Evan Werbel
                                    Evan Werbel



cc:      Geoffrey C. Rushing
         Matthew D. Heaphy
         Mario N. Alioto
         Daniel E. Birkhauser




Active 80289148.1
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           Exhibit 9
              Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 27 of 41




From:                             Werbel, Evan
Sent:                             Tuesday, June 7, 2022 6:55 PM
To:                               Matthew Heaphy; Dan Birkhaeuser; Rick Saveri; Geoff Rushing; Mario Alioto; Lauren
                                  Russell
Cc:                               Taladay, John; Carter, Tom; Lucarelli, Drew; Yang, Kaylee
Subject:                          RE: In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No.
                                  07-CV-5944-JST


All, As of today, the visa applications have not been approved. Irico believes that the visas may be granted tomorrow or
later this week. We will keep you posted on the application status as Irico can’t finalize any plans for deposition dates
until the visa applications have been granted.

We have also learned that Mr. Su has resigned from Irico. He refused to agree to sit for a deposition in Macau given the
severe, month-long COVID quarantine restrictions that he would face upon his return to China. Given his resignation,
Irico has no ability to require Mr. Su to travel to Macau for the deposition so we do not believe we can move forward
with scheduling that deposition.

Best,
Evan

Evan J. Werbel
Baker Botts L.L.P.
evan.werbel@bakerbotts.com
T - 202.639.1323
M - 202.744.0819

700 K Street, NW
Washington, DC 20001
USA



From: Matthew Heaphy <mheaphy@saveri.com>
Sent: Tuesday, June 7, 2022 2:30 PM
To: Werbel, Evan <evan.werbel@bakerbotts.com>; Dan Birkhaeuser <dbirkhaeuser@bramsonplutzik.com>; Rick Saveri
<rick@saveri.com>; Geoff Rushing <geoff@saveri.com>; Mario Alioto <MAlioto@TATP.com>; Lauren Russell
<LaurenRussell@TATP.com>
Cc: Taladay, John <john.taladay@bakerbotts.com>; Carter, Tom <Tom.Carter@BakerBotts.com>; Lucarelli, Drew
<drew.lucarelli@bakerbotts.com>; Yang, Kaylee <kaylee.yang@bakerbotts.com>
Subject: RE: In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST


[EXTERNAL EMAIL]


Evan:

Could you please provide an estimate of the dates you will be able to provide each witness for their depositions? We
need reasonable notice to make the necessary arrangements.


                                                            1
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Thank you.

Best,
Matt

From: Werbel, Evan <evan.werbel@bakerbotts.com>
Sent: Monday, June 6, 2022 2:47 PM
To: Dan Birkhaeuser <dbirkhaeuser@bramsonplutzik.com>; Matthew Heaphy <mheaphy@saveri.com>; Rick Saveri
<rick@saveri.com>; Geoff Rushing <geoff@saveri.com>; Mario Alioto <MAlioto@TATP.com>; Lauren Russell
<LaurenRussell@TATP.com>
Cc: Taladay, John <john.taladay@bakerbotts.com>; Carter, Tom <Tom.Carter@BakerBotts.com>; Lucarelli, Drew
<drew.lucarelli@bakerbotts.com>; Yang, Kaylee <kaylee.yang@bakerbotts.com>
Subject: RE: In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST

Dan, Please see proposed edits to the remote deposition protocol. Tried to clarify a few points on who will be on
camera and on use of documents. Please let me know if you would like to discuss any of these edits. Also, I have not
received an update on the visa applications, but we are trying to obtain a status update.

Thanks,
Evan

Evan J. Werbel
Baker Botts L.L.P.
evan.werbel@bakerbotts.com
T - 202.639.1323
M - 202.744.0819

700 K Street, NW
Washington, DC 20001
USA



From: Werbel, Evan
Sent: Friday, June 3, 2022 6:12 PM
To: Dan Birkhaeuser <dbirkhaeuser@bramsonplutzik.com>; Matthew Heaphy <mheaphy@saveri.com>; Rick Saveri
<rick@saveri.com>; Geoff Rushing <geoff@saveri.com>; Mario Alioto <MAlioto@TATP.com>; Lauren Russell
<LaurenRussell@TATP.com>
Cc: Taladay, John <john.taladay@bakerbotts.com>; Carter, Tom <Tom.Carter@BakerBotts.com>; Lucarelli, Drew
<drew.lucarelli@bakerbotts.com>; Yang, Kaylee <kaylee.yang@bakerbotts.com>
Subject: RE: In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST

Dan, We are generally good with the protocol as drafted. We are finalizing one technical issue with the client now and
will send you any edits on Monday. We should be able to file the protocol on Monday. Also hope to have an update for
you on Monday on the visas.

Have a good weekend,
Evan

Evan J. Werbel
Baker Botts L.L.P.
evan.werbel@bakerbotts.com
T - 202.639.1323
                                                           2
              Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 29 of 41

M - 202.744.0819

700 K Street, NW
Washington, DC 20001
USA



From: Dan Birkhaeuser <dbirkhaeuser@bramsonplutzik.com>
Sent: Thursday, June 2, 2022 6:12 PM
To: Werbel, Evan <evan.werbel@bakerbotts.com>; Matthew Heaphy <mheaphy@saveri.com>; Rick Saveri
<rick@saveri.com>; Geoff Rushing <geoff@saveri.com>; Mario Alioto <MAlioto@TATP.com>; Lauren Russell
<LaurenRussell@TATP.com>
Cc: Taladay, John <john.taladay@bakerbotts.com>; Carter, Tom <Tom.Carter@BakerBotts.com>; Lucarelli, Drew
<drew.lucarelli@bakerbotts.com>; Yang, Kaylee <kaylee.yang@bakerbotts.com>
Subject: RE: In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST


[EXTERNAL EMAIL]


Evan:

Does Irico have any comments on our draft deposition protocol, or may we finalize it for filing?

Thanks.


Daniel E. Birkhaeuser
Bramson, Plutzik, Mahler & Birkhaeuser, LLP
2125 Oak Grove Rd. Suite 125
Walnut Creek, CA 94598
(925) 945-0200
dbirkhaeuser@bramsonplutzik.com




From: Werbel, Evan <evan.werbel@bakerbotts.com>
Sent: Thursday, June 2, 2022 1:50 PM
To: Matthew Heaphy <mheaphy@saveri.com>; Rick Saveri <rick@saveri.com>; Geoff Rushing <geoff@saveri.com>;
Mario Alioto <MAlioto@TATP.com>; Lauren Russell <LaurenRussell@TATP.com>; Dan Birkhaeuser
<dbirkhaeuser@bramsonplutzik.com>
Cc: Taladay, John <john.taladay@bakerbotts.com>; Carter, Tom <Tom.Carter@BakerBotts.com>; Lucarelli, Drew
<drew.lucarelli@bakerbotts.com>; Yang, Kaylee <kaylee.yang@bakerbotts.com>
Subject: RE: In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST

Matt, We are waiting on an update on the depositions and will get back to you when he hear.

Thanks,
Evan

                                                            3
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Evan J. Werbel
Baker Botts L.L.P.
evan.werbel@bakerbotts.com
T - 202.639.1323
M - 202.744.0819

700 K Street, NW
Washington, DC 20001
USA



From: Matthew Heaphy <mheaphy@saveri.com>
Sent: Wednesday, June 1, 2022 6:10 PM
To: Werbel, Evan <evan.werbel@bakerbotts.com>; Rick Saveri <rick@saveri.com>; Geoff Rushing <geoff@saveri.com>;
Mario Alioto <MAlioto@TATP.com>; Lauren Russell <LaurenRussell@TATP.com>; Dan Birkhaeuser
<dbirkhaeuser@bramsonplutzik.com>
Cc: Taladay, John <john.taladay@bakerbotts.com>; Carter, Tom <Tom.Carter@BakerBotts.com>; Lucarelli, Drew
<drew.lucarelli@bakerbotts.com>; Yang, Kaylee <kaylee.yang@bakerbotts.com>
Subject: RE: In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST


[EXTERNAL EMAIL]


Evan:

Could you please provide an update on the depositions today? Please let us know when you propose providing them.

Thank you.

Best,
Matt

From: Werbel, Evan <evan.werbel@bakerbotts.com>
Sent: Tuesday, May 24, 2022 3:43 PM
To: Rick Saveri <rick@saveri.com>; Geoff Rushing <geoff@saveri.com>; Matthew Heaphy <mheaphy@saveri.com>;
Mario Alioto <MAlioto@TATP.com>; Lauren Russell <LaurenRussell@TATP.com>; Dan Birkhaeuser
<dbirkhaeuser@bramsonplutzik.com>
Cc: Taladay, John <john.taladay@bakerbotts.com>; Carter, Tom <Tom.Carter@BakerBotts.com>; Lucarelli, Drew
<drew.lucarelli@bakerbotts.com>; Yang, Kaylee <kaylee.yang@bakerbotts.com>
Subject: In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST

All, I wanted to give you another update on the Visa applications for the Macau depositions. After some additional
hiccups with the need for original documentation and other document problems, Irico believes that all issues with the
Visas have been resolved and they hope the process will move forward smoothly at this point. Assuming that the Visas
are granted early next week, we hope to be able to start the depositions the week of June 6 th. If they are granted later
in the week, we might need to push until the week of June 13th. We will keep you informed on the process as we
receive additional information. Also, we believe that most of the technical issues can be handled as proposed in the
draft deposition protocol. We are still waiting for some additional information from our client and to confirm how and
when the test of the systems can be conducted. We should have more information by the end of the week.

Thanks,
Evan
                                                            4
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Evan J. Werbel
Baker Botts L.L.P.
evan.werbel@bakerbotts.com
T - 202.639.1323
M - 202.744.0819

700 K Street, NW
Washington, DC 20001
USA




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        Exhibit 10
   Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 33 of 41
                                                     700 K STREET, NW      AUSTIN          MOSCOW
                                                     WASHINGTON, D.C.      BRUSSELS        NEW YORK
                                                     20001-5736            DALLAS          PALO ALTO
                                                                           DUBAI           RIYADH
                                                     TEL +1 202.639.7700   HOUSTON         SAN FRANCISCO
                                                     FAX +1 202.639.7890   LONDON          WASHINGTON
                                                     BakerBotts.com



June 14, 2022

                                                                           Evan Werbel
                                                                           TEL: 202.639.1323
                                                                           FAX: 202.585.4077
VIA E-MAIL (RICK@SAVERI.COM,                                               evan.werbel@bakerbotts.com
LAURENRUSSELL@TATP.COM)

R. Alexander Saveri
Saveri & Saveri, Inc.
706 Sansome Street
San Francisco, CA 94111

Lauren C. Capurro
Trump Alioto Trump & Prescott LLP
2280 Union Street
San Francisco, CA 94123



         Re:        In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master File
                    No. 07-CV-944-JST

Dear Rick and Lauren:

       Regarding the depositions of Mr. Wang and Mr. Yan, Irico continues to work with the
deponents to schedule those depositions in Macau. Unfortunately, Mr. Wang and Mr. Yan
remain hesitant to leave Mainland China during the ongoing global pandemic.

        As you are well aware, China has treated the global pandemic quite differently than the
United States. China’s Zero COVID policy has completely shut down cities of millions of
people, forced COVID-positive individuals into isolation locations, and separated families of all
ages. The Chinese government also imposes strict quarantine restrictions on anyone returning to
Mainland China from abroad. Mr. Wang and Mr. Yan would face these significant quarantine
obligations if they travel to Macau upon their return to Mainland China. Currently, this would
require Mr. Wang and Mr. Yan to spend 21 days in centralized quarantine in a state-run facility
followed by an additional 7 days of home quarantine. See
http://sxwjw.shaanxi.gov.cn/sy/ztzl/fyfkzt/xwfbh/202107/t20210730_2185138_wap.html.
Neither Mr. Wang nor Mr. Yan feel they can subject themselves to these obligations given health
concerns and family obligations.

        Irico remains committed to producing these witnesses for depositions in this matter. To
that end, we propose that the parties agree to a further extension of the discovery schedule of six
months. Irico believes that the quarantine obligations may be reduced in the coming months and
that Mr. Wang and Mr. Yan will agree to travel to Macau once these obligations are lifted. We

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R. Alexander Saveri                                -2-                                  June 14, 2022
Lauren C. Capurro


are also willing to discuss other discovery mechanisms with Plaintiffs, if any can be identified,
that would allow the parties to obtain the information sought through alternative means.


                                              Sincerely,



                                              /s/ Evan Werbel
                                              Evan Werbel



cc:      Geoffrey C. Rushing
         Matthew D. Heaphy
         Mario N. Alioto
         Daniel E. Birkhauser




Active 97966412.1
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        Exhibit 11
  Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 36 of 41




  SAVERI & SAVERI, INC.                          Trump Alioto Trump & Prescott
        706 SANSOME STREET                                  ATTORNEYS LLP
  SAN FRANCISCO, CALIFORNIA 94111                            2280 Union Street
     TELEPHONE: (415) 217-6810                         San Francisco, California 94123
     TELECOPIER: (415) 217-6813                                (415) 563-7200
                                                            FAX (415) 346-0679

                                       June 17, 2022

VIA EMAIL

Evan J. Werbel
Baker Botts LLP
700 K Street, N.W.
Washington, D.C. 20001
evan.werbel@bakerbotts.com

       Re:     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917,
               Master File No. 07-CV-5944-JST

Dear Evan:

       Plaintiffs do not believe that Irico is proceeding in good faith with regard to the
depositions of Su Xiaohua, Wang Zhaojie, and Yan Yunlong based on your recent
communications notifying us that Irico will not produce any of these witnesses by the
Court ordered deadline of June 30, 2022, and will not produce Mr. Su at all.

        Plaintiffs have been seeking the depositions of Messrs. Su and Wang—who Irico
claims to be the only two witnesses with knowledge of Irico’s activities in relation to the
alleged conspiracy—since August 26 of last year. Since December 2021, Irico has
repeatedly represented that it would produce these individuals for deposition once Covid
travel restrictions allowed and has stipulated to court orders requiring Irico to produce
them. Plaintiffs have repeatedly relied on these continuing representations, agreeing to
extend the deadlines for their depositions on three occasions. Plaintiffs did so just a few
weeks ago on May 20, 2021, based on your representations that the depositions would
occur promptly as soon as visas were obtained and travel arrangements to Macau were
made. You had previously represented that you expected this to have occurred by mid-
May.

        Soon after we agreed to the last extension, Irico changed its position dramatically.
On June 7, 2021, you informed us that Mr. Su had resigned from Irico and therefore
would not appear for deposition. On June 9, 2021, you informed us that the necessary
visas had been obtained and you were discussing “next steps” with Messrs. Wang and
Yan. On June 14, 2021, however, you reversed your position and informed us that they
would not appear because of quarantine restrictions.
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Evan J. Werbel
6/17/2022
Page 2

        The change in Irico’s position is unreasonable and appears to be yet another
example of your client’s intent to avoid and delay this litigation. The quarantine
requirements relied upon have existed since April 2021 and this inconvenience is not a
reason to refuse to produce witnesses who have visas and are under Court order to
appear. Please agree to produce Messrs. Wang and Yan on a date convenient to
Plaintiffs, the remote deposition provider, and interpreter that is no later than July 22,
2002.

          Please confirm by close of business on June 20.

          Thank you.

                                       Very truly yours,


                                       /s/ Geoffrey C. Rushing
                                       Geoffrey C. Rushing
                                       Counsel for the Direct Purchaser Plaintiffs

                                       /s/ Lauren C. Capurro
                                       Lauren C. Capurro
                                       Lead Counsel for the Indirect Purchaser Plaintiffs


Cc:       John M. Taladay
          Thomas E. Carter
          Andrew L. Lucarelli
          Kaylee Yang
          R. Alexander Saveri
          Matthew D. Heaphy
          Mario N. Alioto
          Daniel E. Birkhaeuser


crt.783
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        Exhibit 12
   Case 4:07-cv-05944-JST Document 6027-2 Filed 06/30/22 Page 39 of 41
                                                     700 K STREET, NW       AUSTIN          MOSCOW
                                                     WASHINGTON, D.C.       BRUSSELS        NEW YORK
                                                     20001-5736             DALLAS          PALO ALTO
                                                                            DUBAI           RIYADH
                                                     TEL +1 202.639.7700    HOUSTON         SAN FRANCISCO
                                                     FAX +1 202.639.7890    LONDON          WASHINGTON
                                                     BakerBotts.com



June 22, 2022

                                                                            Evan Werbel
                                                                            TEL: 202.639.1323
                                                                            FAX: 202.585.4077
VIA E-MAIL (RICK@SAVERI.COM,                                                evan.werbel@bakerbotts.com
LAURENRUSSELL@TATP.COM)

R. Alexander Saveri
Saveri & Saveri, Inc.
706 Sansome Street
San Francisco, CA 94111

Lauren C. Capurro
Trump Alioto Trump & Prescott LLP
2280 Union Street
San Francisco, CA 94123



         Re:        In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master File
                    No. 07-CV-944-JST

Dear Rick and Lauren:

        We write in response to your letter dated June 17, 2022 regarding the depositions of Irico
witnesses planned for Macau and our proposal that the deposition schedule be extended for six
months given the current COVID-19 circumstances and the severe quarantine obligations the
witnesses would face upon return to Mainland China. You reject that proposal outright, misstate
the clear record of Irico’s diligent efforts to produce these witnesses, and incorrectly suggest that
Irico has not acted in good faith.

        To be clear, any suggestion that Irico has not acted in good faith throughout this process
is patently false. The record is clear that Irico has done everything that it could to produce these
witnesses for deposition despite a global pandemic, strict rules against the taking of depositions
in China, and a Zero Covid policy in China that makes international travel extremely difficult
and the return to China even more so. Irico has always intended and still intends to produce
these witnesses for depositions, but these circumstances (which are clearly beyond Irico’s
control), as well as witnesses who do not want to suffer the consequences of the four-week
quarantine requirements, have made it impossible to date. To avoid any doubt, Irico has never
refused to produce these witnesses.

       A brief review of the history of our discussions confirms Irico’s continuing efforts to
produce these witnesses and that Irico is not responsible for any intentional delay. From August
until November of last year, Plaintiffs insisted on in person depositions. Initially, Plaintiffs
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R. Alexander Saveri                                         -2-                                        June 22, 2022
Lauren C. Capurro


insisted on the depositions occurring in California, but, upon learning that Chinese citizens were
not allowed to travel directly from China to the United States, Plaintiffs pivoted and required
Irico to identify other locations where both Plaintiffs (from the United States) and Defendants
(from China) could travel without significant quarantine. Unfortunately, no such location could
be found. Finally, in November, Plaintiffs agreed to at least consider remote depositions. At the
same time, Plaintiffs insisted that they would take the in-person deposition issue to Judge Walker
because the U.S. lifted restrictions on travel from China—even though China had not lifted its
travel quarantine obligations. Nov. 16, 2021 Letter from Saveri & Capurro to Werbel at 1.
Because taking foreign depositions in Mainland China is forbidden under Chinese law 1, Irico
then agreed to provide proposed remote deposition dates for these witnesses in Hong Kong and
at the same time informed Plaintiffs that they did not object to Plaintiffs involving Judge Walker
in the ongoing disagreement over the location of depositions. Nov. 18, 2021 Letter from Werbel
to Saveri & Capurro at 1. Plaintiffs never pursued the issue before Judge Walker, and the Parties
continued to work diligently towards completing these depositions remotely from Hong Kong.
Unfortunately, during this time, COVID-19 spiked in Hong Kong and travel into and out of
Hong Kong was severely limited. Irico ultimately could not obtain visas for its employees to
travel to Hong Kong because of COVID -19, so Irico began looking for other places to take the
depositions. p Irico and Plaintiffs then settled on Macau for remote depositions and Irico
undertook the extensive process of obtaining visas for these witnesses to travel to Macau for the
depositions. After considerable effort, Irico obtained the visas for the witnesses to travel in early
June.

        Ultimately, the individual deponents, rather than Irico, are objecting to participating in
these depositions at this time. Plaintiffs cannot deny that these apprehensions are valid. Courts
have repeatedly recognized the legitimate concerns of witnesses regarding the COVID-19
pandemic and allowed for accommodations or necessary extensions. See Aileron Inv. Mgmt.,
LLC v. Am. Lending Ctr., LLC, No. 8:21-CV-146-MSS-AAS, 2022 WL 93573, at *2 (M.D. Fla.
Jan. 10, 2022); United States v. Berglund, No. 20-cr-00200 (SRN/TNL), 2021 WL 1589548, at
*2 (D. Minn. Apr. 23, 2021). We also have shared various examples throughout this process as
to how China’s Zero Covid policy has impacted Chinese residents quite differently than in the
United States. The current quarantine obligations for the return to Shaanxi Province (21 days in
a government facility and 7 days of home confinement) are excessive and burdensome, and, from
what we have been told, beyond what the witnesses are willing to endure. Ultimately, Mr. Su
recently resigned from Irico expressing his reluctance to travel to Macau given the current
quarantine obligations coupled with his family obligations. Regarding Mr. Wang and Mr. Yan,
Irico has done everything it can to encourage the witnesses to travel to Macau immediately for
the depositions. Irico has assured Mr. Wang and Mr. Yan that their work obligations will be
covered by other employees, that Irico will cover all quarantine-related expenses for 21 days in




1
 During this time period, Irico continued to investigate, and encouraged Plaintiffs to as well, other mechanisms that
might allow for testimony to be taken in Mainland China to avoid these travel and quarantine restrictions. To date,
no straightforward alternatives have been identified by either party.
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R. Alexander Saveri                                -3-                                  June 22, 2022
Lauren C. Capurro


the Chinese facility, that Irico will compensate the witnesses double time, and that Irico will give
the witnesses a bonus financial incentive because of the over one-month continuous period that
the witness will be required to be separated from their families. Mr. Yan and Mr. Wang still
refuse to travel to Macau at this time, citing the quarantine and familial obligations. Instead,
they have requested an extension of time to allow them to travel to Macau after the severe
quarantine restrictions are lifted, which Irico believes may be in the coming months. Irico has
never refused to produce these witnesses and has not changed its position throughout this
process. At all times during this laborious process, Irico acted in good faith and fully intended
for its employees to sit for depositions at whatever location could be arranged. There was no
effort by Irico to avoid these depositions and Plaintiffs know it.

        We also note that a six-month extension would not prejudice Plaintiffs in any way. In the
DPP matter, the parties are currently awaiting a decision on class certification, and the Court has
not set a schedule beyond discovery and class certification in this matter. For the IPPs, the
parties are waiting for the Court to set a new trial date, which will not be before the end of July
2023. The parties should be able to work out a schedule that would allow for this extension of
depositions while still working within that timeframe.

       We continue to believe that a six-month extension is warranted at this time given these
unprecedented circumstances. We are available to meet and confer and to continue these
discussions whenever Plaintiffs are available.

                                              Sincerely,



                                              /s/ Evan Werbel
                                              Evan Werbel



cc:      Geoffrey C. Rushing
         Matthew D. Heaphy
         Mario N. Alioto
         Daniel E. Birkhauser




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